Case 1:22-cv-01302-CJB Document 387 Filed 05/31/24 Page 1 of 1 PageID #: 10840




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SAGE CHEMICAL, INC., et al.,                 )
                                             )
               Plaintiffs,                   )
                                             )
       v.                                    )      Civil Action No. 22-1302-CJB
                                             )
SUPERNUS PHARMACEUTICALS,                    )
INC., et al.,                                )
                                             )
               Defendants.                   )
                                            ORDER
       At Wilmington, Delaware this 31st day of May, 2024;

       For the reasons stated in the Memorandum Opinion issued this same date, IT IS

HEREBY ORDERED that the Individual Defendants Paul Breckinridge Jones, Herbert Lee

Warren, Jr., Henry van den Berg, and Kristen L. Gullo’s motion to dismiss, (D.I. 54), is

GRANTED.


                                                    ____________________________________
                                                    Christopher J. Burke
                                                    UNITED STATES MAGISTRATE JUDGE
